               Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 1 of 17




 1                                                            THE HONORABLE JAMES L. ROBART

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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8
     UNITED STATES OF AMERICA,                         )
 9                                                     )   Case No. 2:12-cv-01282-JLR
                                     Plaintiff,        )
10                                                     )   CITY OF SEATTLE’S NOVEMBER 2022
                     v.                                )   QUARTERLY ACCOUNTABILITY
11                                                     )   UPDATE
     CITY OF SEATTLE,                                  )
12                                                     )
                                     Defendant.        )
13                                                     )
                                                       )
14                                                     )
                                                       )
15

16
              The City submits this quarterly report regarding its progress and activities in the following
17
     areas: (I) ongoing work under the Monitoring Plan and implementation of the Monitor’s
18
     recommendations, and (II) quarterly, quantitative data regarding the use of force and police discipline.
19
         I.      The City continues to implement the Monitor’s recommendations, including
20               expanding the oversight role of the Office of Inspector General for Public Safety.

21            The Monitor’s 2022 Comprehensive Assessment provides technical assistance in the form of

22   recommendations for improving systems and capacity building. In addition, the 2022 Monitoring Plan

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                  Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 2 of 17




 1   specifies tasks, ongoing projects, and other activities that the City has agreed to undertake throughout

 2   2022. The following updates reflect the City’s ongoing commitment to continuous improvement and

 3   accountability.

 4       A.         OIG has continued its work promoting and ensuring systemic reform and
                    accountability in areas that are core to the Consent Decree, as well as conducting
 5                  projects that reach beyond it.

 6            OIG selects projects based on risk-management criteria. This approach increases the

 7   effectiveness of OIG resources and focuses efforts on issues with the greatest impact on the City

 8   and its residents. OIG defines “high-impact risks” as including, but not limited to, those involving

 9   racial disparity, potential loss of life, damage to public trust, or weakening of accountability

10   systems or major reforms. In addition, OIG places weight on community priorities and maintains

11   space in its work plan for emerging issues that arise during the year and which could potentially

12   impact accountability. See generally Exhibit A at 3 (OIG’s 2022 Work Plan).

13            On October 11, 2022, OIG issued its third Sentinel Event Review (SER) report covering

14   the period during the protests after SPD withdrew its officers from the East Precinct building and

15   the Capitol Hill Organized Protest was established. The report is attached as Exhibit B. SER is a

16   community-centered process examining SPD’s response to the protests through a non-blaming,

17   forward-looking framework. The goals of the SER are to reflect the perspectives of the community,

18   identify root causes of negative outcomes, and recommend ways to improve systems. Among other

19   focuses, the third SER report examines the decision to leave the East Precinct; an instance of SPD

20   using deceptive radio messaging with protestors 1; and the impacts on victims of crime (including

21
              1
             After investigating, OPA found that the deception used, which raised the possibility of a
22
     Proud Boys demonstration, “took a volatile situation and made it even more so.”
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             Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 3 of 17




 1   two homicide victims as well as residents, local businesses, and protestors affected by other types

 2   of crime). Exhibit B at 4. Among other recommendations, the report provides ideas for how the

 3   City can achieve: more accountable, transparent decision-making; improved internal and public-

 4   facing communications; better tactics for responding to an “occupy-style protest movement.” Id. at

 5   5 and App. B.

 6          SPD continues to be an engaged and critical partner in the SER Panels and has worked

 7   collaboratively with OIG to incorporate and respond to the recommendations in each successive

 8   report. SPD’s response to the Wave 3 SER Report is attached as Exhibit C. Examples (among

 9   many) of Wave 3 recommendations that SPD already has adopted include: improving internal

10   channels of communication among command and officers in advance of foreseeable crowd events;

11   adding a civilian position to ensure accurate log keeping at the Seattle Police Operations Center

12   (SPOC); new SPOC protocol for documenting planning and decisions in TEAMS; adopting a

13   standardized approval process for IAPs; and ensuring that SPD and the Seattle Fire Department

14   have an option available to communicate with each other using the same radio channels. See

15   generally id.

16          Importantly, OIG’s monitoring work is not limited to areas—such as the use of force—

17   addressed by the Consent Decree. On October 12, 2022, OIG issued a memo to help inform SPD

18   policy on the use of deception (“ruses”). SPD undertook this policy process in the aftermath of

19   two cases that prompted significant community concerns. Although the officers involved in both

20   cases were disciplined for violations of SPD policy, the incidents brought attention to potential

21   gaps in SPD’s policy on dishonesty. As part of its efforts, OIG commissioned a white paper from

22   a subject matter expert and held stakeholder meetings and roundtable discussions, which included

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                 Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 4 of 17




 1   active SPD participation. This process culminated in OIG providing feedback to SPD with respect

 2   to potential review and approval processes, impact on community trust, and promotin g legitimacy.2

 3   SPD is in the process of developing a policy for patrol officers in light of OIG’s recommendations.

 4              Another upcoming report demonstrates OIG’s capacity to go beyond the Consent Decree

 5   and examine a broad range of issues that are important to the community. The Community Police

 6   Commission and City Councilmember Herbold asked OIG to review SPD’s implementation of and

 7   compliance with the 2020 Mi’Chance Dunlap-Gittens’ Youth Rights Ordinance. The Youth Rights

 8   Ordinance affords legal rights to young people aged 18 or under who are being questioned by law

 9   enforcement officers. Now, in circumstances that necessitate a Miranda warning, questioning

10   cannot take place until a lawyer at King County Department of Public Defense explains Miranda

11   Rights to the young person.

12              OIG recently received independent verification of its effective performance. On October

13   6, 2022, OIG received a rating of “Pass” (which is the highest rating) as a result of its first

14   independent peer review through the Association of Local Government Auditors (ALGA). Under

15   Generally Accepted Government Auditing Standards (GAGAS), this review occurs every three

16   years and provides assurance that performance audits conducted in the review period were in

17   compliance with GAGAS. The results of the review can be found here.

18         B.      OIG has incorporated a new approach to identifying disparity issues, dovetailing
                   with recent recommendations of the Monitor.
19
                Since its founding, OIG has dedicated significant efforts to the impact of SPD practices on
20

21
     2Available at
22   https://www.seattle.gov/documents/Departments/OIG/Other/221017DeceptionPolicyMemoFinal.
     pdf
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                Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 5 of 17




 1   racial disparities. In 2019, OIG provided technical assistance to SPD by conducting an independent

 2   evaluation of statistical methods that it uses to identify and track potential racial disparity in

 3   investigative stops. 3 Throughout the SER process, race dynamics and equity have been a critical

 4   focus. As another example, at OIG’s urging, OIG and SPD convened a stakeholder workgroup

 5   beginning in 2021 to collaborate on a traffic enforcement initiative. The goal of this effort is to

 6   identify and implement alternatives to minor traffic stops that support racial equity. Data gathering

 7   to inform these alternatives has been ongoing since 2021. This work culminated in SPD de-

 8   prioritizing the following traffic offenses by no longer considering them as a primary basis for a

 9   stop:

10         •   Expired or missing vehicle registration,

11         •   Issues with the display of registration plates (e.g., missing front license plate),

12         •   Technical violations of the traffic code, such as items hanging from the rear-view mirror

13             and cracks in the windshield, and

14         •   Bicycle helmet violations.

15   See Chief Diaz’s Letter to OIG. 4

16             Looking forward, in order to more fully center community concerns about racial disparities

17   in its work going forward, OIG recently made a commitment that all SPD-related audits it conducts

18   in the future will include an analysis of racial disparities as one component of the audit.

19

20
     3 Available at
21   https://www.seattle.gov/documents/Departments/OIG/Policy/DisparityMethodEval031819.pdf
     4Available at

22   https://www.seattle.gov/documents/Departments/OIG/Other/Letter%20to%20Inspector%20Gene
     ral%20Lisa%20Judge%20-%20Traffic.pdf
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               Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 6 of 17




 1            Although not a specific recommendation of the Monitor, this equity-centered approach to

 2   SPD oversight addresses some of the Monitor’s findings and resonates with the Monitor’s m essage

 3   that action is needed in order to build community trust. Dkt. 709 at 135. In the 2022 Comprehensive

 4   Assessment, the Monitor wrote that “SPD must continue the important work of assessing and

 5   addressing unwarranted disparities in partnership with the commun ity.” Id. The Monitor also

 6   recommended that SPD re-engage OIG in this work. Id. at 142. OIG’s future efforts in this area

 7   will bring analytical rigor and valuable experience from the SER community-driven process.

 8       C.      SPD and OIG are collaborating on implementing a key recommendation of the
                 Monitor: making SPD’s analytical reports and public-facing data dashboards more
 9               digestible to the public.

10            In its recent findings on SPD’s disparity analytics, the Monitor concluded, “[f]ew, if any,

11   law enforcement agencies in the United States have built or maintain the internal capacity to

12   produce ongoing disparity analyses at [SPD’s] level of rigor and sophistication.” Dkt. 709 at 137.

13   Indeed, SPD is currently ranked third highest for data transparency across police departments

14   nationwide, by the Vera Institutes Police Data Transparency Index. In his Comprehensive

15   Assessment, the Monitor also stated that SPD’s ability to identify and meaningful analyze its

16   disparity data should “inspire confidence.” Dkt. 709 at 141.

17            The Monitor did, however, make a series of recommendations, including that SPD “[m]ake

18   [its] disparity analytics publicly available and digestible where feasible” and to “[c]ollabora tively

19   engage[] with its community partners on these new analytics and their potential impact.” Id. at

20   138-39. In keeping with these recommendations, SPD committed in the 2022 Monitoring Plan to

21   work to better align the internal data that it relies on for analytics with the data available on its

22   public-facing “dashboards.”

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              Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 7 of 17




 1           Accordingly, SPD and OIG have been engaged in a collaboration to enhance SPD’s public-

 2   facing “dashboards” and other analytical products. These dashboards allow any member of the

 3   public to search policing data on SPD’s website. During this effort, the OIG has been contributing

 4   to the development of visual “infographics” designed to help people who do not have a technical

 5   background understand the dashboards. In addition, OIG is assisting the department with a review

 6   of the metadata pages describing the public data maintained by the department.

 7      D.      The Executive and City Council are collaborating to develop diversified responses to
                911 calls, rather than routing all emergency calls to SPD.
 8
             During the last quarter, the Executive Branch and City Council Central Staff formed a joint
 9
     task force to develop a strategy and near-term steps for creating an alternative 911-response
10
     program that (among other goals) does the following: diversifies the City’s response options to
11
     appropriately meet community needs, including through non -law-enforcement responses;
12
     increases the rate and timeliness of responses; and is more equitable for the City’s Black,
13
     Indigenous and people of color and most vulnerable underserved populations.
14
             The initial workplan and shared goals and commitments were presented publicly at a
15
     hearing of the City Council Public Safety and Human Services Committee on September 13,
16
     2022. One proposal being explored is a co-response pilot to be implemented in the short-term that
17
     would separately dispatch SPD officers and civilian teams to respond to certain non-violent, non-
18
     criminal calls that involve people experiencing a behavioral health crisis. In addition to building
19
     consensus among the City’s leadership on a path forward, the task-force’s findings are informing
20
     the City budget review process currently underway.
21

22

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                Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 8 of 17




 1

 2        E.      In parallel with the work of the Executive-Council Task Force, SPD is analyzing its
                  past 911 response data and developing technology that will enable the City to provide
 3                diversified responses to 911 calls.

 4        In the last quarter, SPD completed Phase I of its Risk Managed Demand (RMD) analysis. As

 5   part of this phase, SPD studied which call types currently responded to by officers can be handled

 6   by alternative or co-responders. To do this, SPD analyzed nearly 2 million records of police

 7   responses, taking into account the initial classification or “type,” the final type, and the outcome

 8   of each emergency call. Declaration of Brian Maxey, ¶¶ 3-4.

 9        SPD now is moving into Phase II which involves designing and building a “Call Classifier.”

10   The Call Classifier will be a machine-learning tool that classifies the severity of risk for any given

11   call. It will use the historical data analyzed in Phase I and continue to improve and learn from the

12   new data generated as it operates. For example, the model identifies some calls that do not require

13   an in-person patrol response and could, instead, be best addressed by scheduling an appointment

14   with a detective. The model additionally recognizes the possibility that the very act of sending an

15   armed police response could, itself, escalate an otherwise low-risk situation. Some types of calls,

16   accordingly, may best be addressed by dispatching non-police responders with police in close

17   attendance (but not necessarily physically present) and able to rapidly intervene. Maxey Decl. ¶¶ 5-

18   6.

19             Once completed, the solution will be integrated with the SPD’s computer-aided dispatch

20   system and available for access by Community Safety Communication Center (CSCC)

21   workstations. The CSCC handles more than 900,000 calls per year, and approximately 80% of the

22

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                  Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 9 of 17




 1   911 calls last year were for non-criminal events; as a result, an important goal is to invest more

 2   resources on emergencies and fewer resources on low-risk calls. Maxey Decl. ¶ 7.

 3               In addition, SPD and CSCC hope to implement a more advanced online reporting system

 4   that can reach a wider group of people. They are evaluating a system that can provide language

 5   translation services, be accessible to people with disabilities, and also increase the ability to assist

 6   people with limited access to technology. Maxey Decl. ¶ 7.

 7          F.      SPD reached two milestones in developing a next generation “early intervention
                    system.”
 8
                 As one of the Consent Decree required reforms, SPD adopted an early intervention system
 9
     (EIS) in 2014 in order to support employee wellness and professional growth by seeking to identify
10
     and mitigate against factors that may lead to negative performance issues. Dkt. 125. Since then,
11
     SPD has annually revised and improved on that system.
12
                 SPD has partnered with researchers from the Washington State University College of
13
     Nursing and the National Network for Safe Communities at John Jay College of Criminal Justice
14
     in developing a next-generation EIS. The ultimate goal is that the next-generation EIS will provide
15
     insights and guidance for supervisors on how to mentor and achieve positive outc omes. The system
16
     is expected to combine forecasts of adverse events with guidance on how to support an employee
17
     in improving their behavior. The code for this system, including predictive models, is being built
18
     on open-source software, and SPD will make it publicly available, free of charge. Maxey Decl.
19
     ¶ 9.
20
                 Over the past quarter, SPD achieved two milestones in this work. The first milestone is that
21
     SPD implemented a substantial upgrade to its data analysis software, called “DAP 2.0.” Next
22
     generation EIS requires this software in order to operate. All engineering infrastructure,
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             Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 10 of 17




 1   data sources and processes for DAP 2.0 became operational as of October 12, 2022. This

 2   achievement sets the stage for DAP 2.0 to “go live” on November 3, 2022. Maxey Decl. ¶ 11.

 3           This upgrade to SPD’s already advanced data processing capabilities will allow the next

 4   generation EIS to analyze approximately 1,500 individual data points in the forecast of officer

 5   adverse events (e.g., sustained complaints). In the future, SPD plans to add even more direct

 6   measures of officer behavior and more adverse event types (e.g., high severity complaint types,

 7   EEO complaints, serious use of force). Maxey Decl. ¶ 11.

 8           The second milestone reached is that, on October 6, 2022, SPD hosted a workshop with

 9   subject matter experts from across the country and internal stakeholders to design interventions

10   (i.e., specific action plans that supervisors can use with officers) to address behaviors potentially

11   leading to the receipt of a sustained complaint. A follow-up workshop will be held the week of

12   November 7, 2022. Maxey Decl. ¶ 12.

13           The next generation EIS is on schedule to be in production and rendering predictions by

14   the end of 2022. An evaluation of the next generation EIS will be conducted in parallel with SPD’s

15   existing, threshold-based EIS during the first half of 2023, and the results will inform SPD’s

16   decision-making regarding next steps. Maxey Decl. ¶ 13.

17      G.      SPD continues to expand and advance its internal accountability systems.

18           SPD is nearly finished implementing a new feedback mechanism for patrol officers.

19   Through quick, mobile-friendly surveys, a new customer service platform will gather near-real-

20   time feedback on how members of the public experience their interactions with officers. In addition

21   to collecting important feedback on professionalism and other metrics, the program also is

22   expected to provide reference information and resource links more quickly to people who seek

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               Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 11 of 17




 1   assistance. By the first quarter of 2023, SPD anticipates that it will use data generated from this

 2   program as one of its quality metrics in monthly SEAStat meetings. Maxey Decl. ¶ 14.

 3             SPD also volunteered to serve as a pilot site with Health Check, an initiative of the New

 4   York University School of Law Policing Project to implement “a comprehensive tool to define

 5   and measure the characteristics of a fair, effective, and just policing agency.” As part of this pilot,

 6   a social science researcher is working with SPD to analyze approximately 100 different metrics

 7   that are intended to assess the quality of public safety services, just policing, accountability, and

 8   organizational efficiency. Maxey Decl. ¶ 16.

 9             SPD is also participating in the “Justice Counts” initiative of DOJ, a coalition of state

10   governments, and numerous other partners. Justice Counts developed a set of metrics that draw on

11   criminal justice data and which constitute another important self-assessment tool. The primary

12   purpose of Justice Counts is to provide policy makers, including law enforcement agencies, with

13   current, usable criminal justice data for decision-making. SPD is one of the early police

14   departments to begin participating in this self -assessment tool. Maxey Decl. ¶ 16.

15       II.      Quarterly data reflect sustained compliance with the Consent Decree and a well-
                  functioning accountability system.
16
         A.       SPD quarterly data for July 1, 2022, through September 30, 2022, demonstrate
17                stability with respect to use-of-force and crisis-intervention outcomes.

18             The Monitoring Plan requires SPD to provide quarterly data and analysis to facilitate

19   oversight and long-term trend analysis. One important metric that has been tracked throughout the

20

21

22

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               Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 12 of 17




 1   Consent Decree is the amount of serious force 5 used by SPD officers. In 2022, the number of

 2   incidents involving a serious use of force continue to be exceedingly low. See Table 1.

 3   Table 1. 2022 Incidents involving serious (Type I or II) uses of force

 4    Q1             Q2             Q3

 5    43             46             21

 6

 7          It is also instructive to track the overall numbers of uses of force. In reviewing these numbers,

 8   it is important to note that a “use of force” is different from an incident involving force. A “use of

 9   force” is defined to include the interactions between one officer and one subject. Because many

10   incidents involve more than one officer, frequently a single incident involves multiple uses of force.

11   Table 2. 2022 Total number of uses of force

12                   Q1              Q2              Q3

13    Type I         205             211             188

14    Type II        71              83              50

15    Type III       3               3               1

16    Officer-       86              2               0
      involved
17    shootings

18
            5  Serious force includes all Type II and Type III uses of force. Type II force is defined as
19   “[f]orce that causes or is reasonably expected to cause physical injury greater than transitory pain
     but less than great or substantial bodily harm. Type III force is defined as “[f]orce that causes or
20   may be reasonably expected to cause substantial bodily injury.” See Seattle Police Manual § 8.050,
     available at https://www.seattle.gov/police-manual/title-8---use-of-force/8050---use-of-force-
21   definitions
             6 The officer-involved shootings in Quarter 1 were spread across three separate, fatal

22   incidents, each involving one subject. The number eight represents the number of officers who
     discharged a firearm in those three incidents.
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              Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 13 of 17




 1    Total           287            299             239

 2

 3            In addition to amount of force, the Monitor and the parties also have considered the rate of

 4   force used by SPD. That is, how frequently do interactions between police officers and members

 5   of the public result in a use of force? One method that the Monitor and SPD have used to estimate

 6   this rate is taking the number of reported uses of force and dividing it by the number of

 7   “dispatches” (i.e., the number of events to which officers were either dispatched or which they on-

 8   viewed in the field). Monitor’s Ninth Systemic Assessment (Dkt. 383) at 30 (reporting that SPD

 9   used force in 0.3% of all incidents, while noting this figure is approximate). More recently, in 2019

10   the annual rate was less than one-fifth of one percent (0.15%) of all officer dispatches. SPD’s Use

11   of Force Rept. (Dkt. 605-1) at 2. This rate shows that, overall, the use of force by SPD officers has

12   become an empirically rare occurrence. See id. Quarterly data from the past year demonstrate

13   sustainment. See Table 3.

14   Table 3. 2022 total number of uses of force divided by number of dispatches

15                              Q1         Q2              Q3
      Dispatches                163,219    175,136         189,994
16    Uses of Force             286        298             210
      Rate                      0.18%      0.17%           0.11%
17
              The excessive use of force against individuals experiencing behavioral crisis was a critical
18
     finding in DOJ’s 2011 investigation. DOJ Findings Letter (Dkt. 1-1) at 4. In 2016, the Monitor
19
     evaluated SPD’s compliance with Consent Decree mandated crisis intervention practices and
20
     found that SPD had met the requirements in this area. Monitor’s Fifth Assessment (Dkt. 272) at 1.
21

22

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              Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 14 of 17




 1   The Monitor concluded that “SPD has, in a relatively brief amount of time, created a full-fledged

 2   crisis intervention program that is successfully being woven into the SPD organization.” Id. at 4.

 3            Due to these training and programmatic changes, the use of force in crisis incidents has

 4   become infrequent. The Monitor reported that this rate had fallen to less than 2 percent and observed,

 5   “[t]hese numbers suggest that the SPD is using significant and appropriate restraint in difficult

 6   situations, making decisions that preserve safety and reduce use of force.” Monitor’s Fifth Assessment

 7   (Dkt. 272) at 11-12. During the most recent crisis intervention assessment, covering the 18-month

 8   period from Jan 1, 2018, to June 30, 2019, reportable force was used in only two percent of crisis

 9   contacts. SPD’s Crisis Intervention Rept. (Dkt. 588-3) at 27. Throughout 2022, this rate has remained

10   equally low, fluctuating between less than 1% and 1.34%. See Table 4.

11   Table 4. 2022 percentage of crisis contacts in which reportable force occurred.

12    Q1             Q2            Q3

13    1.2%           1.3%          0.9%

14
         B.      Quarterly data on police disciplinary investigations and appeals demonstrate that
15               discipline is a solid component of the City’s robust police accountability system.

16            The Office of Police Accountability (OPA) is responsible for conducting disciplinary

17   investigations into allegations of misconduct by individual officers. In addition to making findings

18   with respect to officer misconduct, OPA also identifies training, policy, and other system issues

19   through its work. On October 31, 2022, the current Director of OPA, Gino Betts, was re-confirmed

20   by a unanimous vote of City Council to serve a four-year term. Director Betts had previously been

21   confirmed to serve for the remainder of former Director Myerberg’s term.

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      CITY OF SEATTLE’S NOVEMBER 2022 QUARTERLY                                        Ann Davison
                                                                                       Seattle City Attorney
      ACCOUNTABILITY UPDATE - 14                                                       701 5th Avenue, Suite 2050
      (12-CV-01282-JLR)                                                                Seattle, WA 98104-7095
                                                                                       (206) 684-8200
               Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 15 of 17




 1             Because of the important role that OPA serves, the City has committed to submit data to

 2   the Court regarding its disciplinary investigations and appeals. When OPA receives a complaint

 3   alleging that one or more officers have committed a serious policy violation, it opens a new

 4   investigation. The police union contracts require that OPA must complete its investigations within

 5   180 days, with some exceptions. Between July 1, 2022, and September 30, 2022, OPA opened 51

 6   new investigations. As of September 30, 2022, OPA had a total of 255 open investigations.

 7             OPA completed 56 investigations during the third quarter of 2022. For each of these

 8   investigations, the OPA Director issued a memo with conclusions and recommended findings to

 9   the Chief of Police. All OPA findings issued since 2016 are available on OPA’s website. 7 If the

10   evidence shows that a serious violation of SPD policy occurred, the OPA Director will recommend

11   a “sustained” finding. If the evidence shows that misconduct did not occur, the Director will likely

12   recommend a “not sustained” finding. Out of the 56 completed investigations during the past

13   quarter, OPA recommended sustaining allegations in four of these cases against a total of six SPD

14   employees. There was one sustained use-of-force allegation, one sustained force reporting

15   allegation, and one sustained use-of-force de-escalation allegation; these findings involved two

16   cases and two officers.

17             If the OPA Director recommends finding that an employee committed misconduct, then

18   the Chief of Police decides whether to impose discipline and what the discipline should be.

19   Examples of discipline include oral reprimand, written reprimand, demotion, reass ignment,

20   suspension from work (without pay), and termination. If the Chief decides not to follow one of the

21   OPA Director’s recommended findings, then the Chief must issue a public statement explaining

22
     7   Available at https://www.seattle.gov/opa/news-and-reports/closed-case-summaries
23
         CITY OF SEATTLE’S NOVEMBER 2022 QUARTERLY                                    Ann Davison
                                                                                      Seattle City Attorney
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             Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 16 of 17




 1   the reasons. Thus far in 2022, the Chief has not overturned any of OPA’s findings. Between July

 2   1, 2022, and September 30, 2022, as a result of OPA’s investigations, the Chief imposed discipline

 3   on ten officers. 8 During this time, one disciplinary appeal was filed related to an OPA

 4   recommended finding of misconduct; in this case, the union chose to appeal to the Public Safety

 5   Civil Service Commission (the appellate body specified in the Accountability Ordinance,

 6   Ordinance No. 125315, § 3.29.420(A)(7)(a)9) rather than to an arbitrator.

 7                                            CONCLUSION

 8          Consistent with the Monitor’s conclusion in the 2022 Comprehensive Assessment, the City

 9   continues to sustain its compliance with the Consent Decree requirements and remains dedicated

10   to continuous improvement and ongoing reform. The Monitor’s recommendations and technical

11   assistance have served an important role over the past quarter.

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            8 Because the Chief must review and contemplate disciplinary matters before reaching a
21   decision, there is a time lag. Some of the cases in which the Chief imposed discipline in the third
     quarter of 2022 were closed by OPA before the third quarter.
22
            9   The relevant provision of the Accountability Ordinance appears Dkt. 396-1, p. 86.
23
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            Case 2:12-cv-01282-JLR Document 722 Filed 11/01/22 Page 17 of 17




 1   Respectfully submitted,

 2
     DATED this 1st day of November, 2022.
 3
            For the CITY OF SEATTLE
 4          ANN DAVISON
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